                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION

                                 CRIMINAL NO. 1:01CR52-14



UNITED STATES OF AMERICA                      )
                                              )
                                              )
               vs.                            )              ORDER
                                              )
                                              )
ROBERT LIONEL SISK                            )
                                              )


        THIS MATTER is before the Court on the Defendant’s motion for resentencing

pursuant to 18 U.S.C. § 3582. The motion is denied.



                                 I. PROCEDURAL HISTORY

        On August 6, 2001, the Defendant was charged with conspiracy to possess with intent to

distribute in excess of five kilograms of cocaine power and 50 grams of methamphetamine. He

was convicted after jury trial on November 16, 2001. On July 12, 2002, the undersigned

sentenced the Defendant to 276 months incarceration. His conviction and sentence were upheld

on his direct appeal to the United States Fourth Circuit Court of Appeals and the Supreme Court

declined to issue a writ of certiorari. United States v. Sisk, 87 Fed. Appx. 323 (4th Cir.), cert.

denied, 125 S. Ct. 155 (2004). The Defendant has not filed a motion pursuant to 28 U.S.C. §

2255.




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                                       II. DISCUSSION

       Title 18 U.S.C. § 3582 provides in pertinent part:

       The court may not modify a term of imprisonment once it has been imposed
       except that-
                                                 ...
               [I]n the case of a defendant who has been sentenced to a term of
       imprisonment based on a sentencing range that has subsequently been lowered by
       the Sentencing Commission pursuant to 28 U.S.C. [§] 994(o), upon motion of the
       defendant . . ., the court may reduce the term of imprisonment, after considering
       the factors set forth in section 3553(a) to the extent that they are applicable, if
       such a reduction is consistent with applicable policy statements issued by the
       Sentencing Commission.

18 U.S.C. § 3582(c)(2). Defendant argues that the recent Supreme Court decision in United

States v. Booker, 125 S. Ct. 738 (2005), mandates a reduction in his sentence pursuant to § 3582

because that Court held the United States Sentencing Guidelines are not mandatory but advisory

only. According to the Defendant then, the Booker decision is itself a clarifying amendment to

the Guidelines and, therefore, may be applied to reduce his sentence via 18 U.S.C. § 3582(c). He

does not, however, allege that any amendment to a Guideline applied to him has occurred.

       “By its plain language, § 3582(c)(2) is not implicated by a decision of the Supreme Court

that is unrelated to an actual amendment of the guidelines.” United States v. Privette, 129 Fed.

Appx. 897 (5th Cir. 2005). As a result, Booker is not applicable to a motion brought pursuant to

§ 3582(c)(2). Id.

       Booker, . . . which extended the holding of Blakely [v. Washington, 124 S. Ct.
       2531 (2004)] to the federal sentencing guidelines, is not applicable in this case
       because § 3582(c)(2) authorizes only modification of a sentence as a result of an
       amendment to the guidelines made retroactive by the Sentencing Commission and
       is not a means to attack the constitutionality of a sentence.

United States v. Joseph, 130 Fed. Appx. 357, ____, 2005 WL 1038766 **3 (11th Cir. 2005).




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       Section 3582(c)(2) gives individuals the right to seek a reduction in their sentence
       when the guideline range upon which they were sentenced has subsequently been
       lowered through an amendment to the sentencing guidelines. Defendant does not
       allege that any such amendment has been made. The Supreme Court made it clear
       that Booker is not to be applied retroactively. Rather, its holding applies only to
       cases on direct appeal. If the Court were to accept defendant’s argument that
       anyone can file a section 3582(c)(2) motion for resentencing based on the general
       effect Booker had on the guidelines, then practically anyone could move for a
       sentence reduction. In the end, Booker would essentially become retroactive,
       albeit through the guise of a section 3582(c)(2) motion. This is not what the
       Supreme Court intended.

United States v. Durr,     F.Supp.2d      , 2005 WL 1318836 **1 (S.D. Ohio 2005); accord,

United States v. Mitchell, 122 Fed. Appx. 539, 541 (2d Cir. 2005) (“At best, Mitchell’s effort

somehow to import Blakely and, by extension, Booker into a recalculation of his sentence

under 18 U.S.C. § 3582(c)(2) is a collateral attack on the original judgment. This court has

held, however, that Booker does not apply retroactively to cases on collateral review.”);

United States v. Dorsey,     F.Supp.2d    , 2005 WL 906356 **1 (E.D. Pa. 2005) (“Booker

does not support a 18 U.S.C. § 3582(c)(2) claim[.] The Sentencing Commission has not

lowered any sentencing range applicable to Dorsey[.]”); Shafer v. United States,

F.Supp.2d     , 2005 WL 850842 **2 (D. Me. 2005) (“Booker is unquestionably a

pronouncement by the United States Supreme Court and not the United States Sentencing

Commission[.]”). The Court finds that “giving [Defendant] § 3582(c) relief from his sentence

based on Booker would be, in essence, giving Booker retroactive effect to a case that is no longer

in the direct appeal pipeline.” Id.




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                                  III. ORDER

     IT IS, THEREFORE, ORDERED that the Defendant’s motion for resentencing is

hereby DENIED.




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                        Signed: June 15, 2005




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